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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY



UNITED STATES OF AMERICA                :

                                        :         CRIMINAL 10cr851-7

           v.                           :

                                        :                ORDER
THOMAS LEONARDIS
                                        :



      The financial inability of the defendant Thomas Leonardis to

retain counsel having been established by the Court, and the

defendant not having waived the appointment of counsel, and

      The court having heard the U.S. Attorney(s) concerns about

the qualifications of such appointment; and

      for good cause shown;

      It is on this      4th   day of October, 2001,

      O R D E R E D      that Michael Pedicini, Esq is hereby ordered

to remain as appointed counsel to represent defendant Leonardis

in this case until further order of the Court; and

      Further ORDERED that if defendant does in fact have assets

which are discovered after trial, defendant will be required to

reimburse the government for the cost of counsel.


                                              S/DENNIS M. CAVANAUGH
                                                  DENNIS M. CAVANAUGH
                                             United States District Judge


cc:     United States Attorney
